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                        IN T HE UNIT ED STAT ES DIST RICT COURT
                            FOR THE DIST RICT OF COLUMBIA

 NATIONJ\L PUBLIC RADIO, INC., el al.,

                                 Plaintiffs ,       Civil Case No. 25-cv-1 674

                 V.
                                                    DECL ARATION OF
 DONALD.I. TRU MP, et al.,                          STEWART V ANDERWI LT
                                 Defendants.



                       DECLARATION OF STEWART VANDERWILT

I, Stewart Vanderwilt, hereby declare as follows:

        1.      I am over 18 years o r age, am competent, and make this declaration based upon my

own personal know ledge. 1 make this declaratio n in support of Plainti ffs' Motion for Summary

Judgment. If called to do so, I could and would competently testify to these matters under oath.

        2.      I am the President and CEO of Colorado Public Radio (CPR), a position I have held

since July 2018. Previously, 1 was the director and general manager or Austin's K UT and KUTX

public radio stations, where I spent 18 years. Prior to that, I spent 15 years at Indiana Public Radio.

As President and C EO of Colorado Public Radio, I work closely with our Board or Directors,

Senior Staff and Leadership Team to fulfill CPR's mission and vision.

   A.        CPR and the Communities It Serves

        3.      CPR began broadcasting in 1970, originally licensed to the University or Denver.

Since 1984, it has operated as an independent, non-profit corporation dedicated to our mission of

delivering meaningful news, music, and cultural experiences to everyone in Colorado usi ng the

power of the human voice in all its forms.

        4.      CPR is a community licensee, meaning that we are an independent, locally owned

and o perated broadcaster. We arc a broadcaster that reaches 90 percent of the Colorado population
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over the airwaves, including many rural areas. CPR has 142 employees across the state, in Denver,

Grand Junction, and Colorado Springs. Our programming-heard on 19 stations and another 20

translators serving small communities- includes 24/7 news, music, and cultural programming.

       5.      We serve communities in areas including Denver, Vail, Pueblo, Grand Junction,

Montrose, Boulder, Glenwood Springs, fort Collins, Carbondale, and more.              Some of the

communities we serve, including Rangely and Craig, Colorado, do not have access to other local

radio news.

       6.      On average, we serve 499,000 listeners each week.

       7.      CPR's board of directors is made up of Colorado residents from across the state

with varied backgrounds-including in education, nonprofit leadership, and technology. Members

of our board are identified by our board's Nominating Committee and then recommended to the

board for election. Nominees are identified based on their relevant experience, dedication to our

mission, availability, and personal and professional expertise and community standing.

       8.      Our station also has a Community Advisory Board (CAB) that consists solely of

community members. Our CAB meets three to four times a year to help ensure that we meet the

educational and cultural needs of the communities we serve.

       9.      Since 1970, CPR has provided comprehensive coverage of critical events in

Colorado, including the 1999 shooting at Columbine High School, the 2008 Democratic National

Convention in Denver, and the Aurora theater shooting in 2012; launched podcasts covering topics

including music, Colorado politics, transportation, music appreciation, and solutions to preserving

the resources of the Colorado River; and steadily expanded our reach to ensure that all Coloradans

have access to high-quality news and cultural programming. CPR is the only media organization

in the State with a full-time journalist in Washington, D.C. devoted to reporting on the work of the


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Colorado congressional delegation. CPR is also pai1 of a collaboration funded by the Corporation

for Public Broadcasting that has the largest contingent of reporters covering our State capitol.

        I 0.    We pride ourselves on our music broadcasting-especially classical music. We

have the most extensive library of classical music in the slate. We also have a dedicated program

called "Colorado Spotlight," through which we interview and air performances by local musicians

and visiting artists, and we maintain a Perfonnance Studio that hosts artists for on-air perfonnances

and interviews. In addition to classical music, we have a channel devoted to new music discovery

with a focus on Colorado-based musicians and groups.

H.     CPR's Programming and its Relationship with NPR

        11.    CPR began carrying programming from National Public Radio (NPR) in 1973 and

has been an NPR Member station since 1973.

        12.    CPR chooses to include NPR programming because it offers an efficient and trusted

way to deliver national and international news directly from communities across the country and

around the globe. NPR programs go beyond daily headlines, sharing stories that inspire, spark

curiosity, and highlight our shared human experience. As part of NPR' s network of Member

stations, CPR 's reporting reaches a national audience, helping to elevate the voice and visibi lity of

Colorado on the national stage.

        13.    CPR News broadcasts 24/7, with 65 hours per week of NPR programming,

including on weekends. N PR news is an important part of the complete package of programming

we provide to listeners at CPR, which also includes local and regional news coverage.

        14.    Ln addition, as an NPR Member station, CPR receives services from NPR including,

among other things, fundraising materials and assets, representation in blanket music license

negotiations, and data regarding audience insights and analytics.



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       15.     CPR pays an individualized "core fee'' to NPR. That ''core foe'' entitles us to air

certain NPR programming, including N PR's flagship newsmagazines Morning Edition, All Thing,·

Considered, and Weekend Edition.       CPR also pays programming fees to license add itional

programming, including Here & Now, Fresh Air, and Wail Wait . . . Don't Tell Me!, which are

distributed but not produced by NPR.


   C. Funding for CPR


       16.     CPR's total operating revenue for fiscal Year 2025 is approximately $25 million.

Approximately $ 1.4 million of that operat ing revenue comes from Community Service Grants

(CSGs) from the Corporation for Public Broadcasting (the Corporation or CPB).      r unding from
the Corporation thus constitutes approximately six percent of CPR's budget for 2025.

       17.     The Corporation provides two types of CSGs-unrcstricted and restricted- to local

public radio stations like CPR.

       18.     Unrestricted CSG funds can be used for a variety of purposes, including

programming, local production, educational outreach activities, broadcasting, management, and

day-to-day operations.

       19.     Restricted CSG funds must be used to acquire or produce programming to be

distributed nationally; such programming must also be designed to serve the needs of a national

audience.

       20.     Each year, CPR uses restricted CSG funds it receives from the Corporation to help

pay the station's "core fee" and programming fees to NPR.


   D. Impact of Executive Order 14290




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       21.     Executive Order 14290, "Ending Taxpayer Subsidization of Biased Media," hanns

CPR in multiple ways.     First, an arbitrary prohibition against using federal funds to acquire

programs from NPR (or any other source) infringes on our editorial independence and on our right

and responsibility to make programming decisions in the best interest of our community.

       22.     Second and relatedly, the Order creates immediate chilling effects by sending a

clear, unm istakable message that the government disapproves of NPR and wil l seek to use all

available levers to retaliate against NPR and its Member stations. This chilling effect goes beyond

our ability to associate with and air programming from NPR. It sends a message to us that if the

Administration disapproves of any organization we choose to associate with or air programming

from, or if it disapproves of the content of that organization's programming, CPR could be

retaliated against, including by having our funding placed in jeopardy.

       23.     Third, if CPR was no longer able to use CSG funds to help pay the station's ·'core

fee" and programming fees to NPR, CPR may have to replace NPR programming with other

national programming.

       24.     In Fiscal Year 2025, CPR received approximately $400,000 in restricted CSG funds

to be spent on national programming. We have a tight budget and rely on these restricted funds to

cover a significant portion of our national programming. C urrently, almost all the money we spend

on national programming is spent on NPR content. In FY 2025, CPR budgeted approximately

$2.24 mill ion for national programming, and only around $340,000 for non-NPR national

programming. If we cannot use restricted CSG funds fiJr NPR membership and programming fees,

we will have less money for NPR programming and would need to substitute other national

programming that we would have otherwise not chosen to air.




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        25.      There is not a robust source of national and international news with the scale and

scope offered by NPR. And, moreover, other national programming can be more expensive, per-

hour, to license than NPR programming. In order to economize, CPR may need to license fewer

NPR or other national programs and repeat them more often, creating a less comprehensive

experience for audiences.      It would not be economically feasible for us to replace NPR

programming with local programming because the cost of producing local programming is

markedly higher than the cost of licensing NPR programming.

       26.       Fourth, although it may be possible fix us to segregate funds in order to use other

sources of funding for NPR programming, that would place administrative burdens on CPR staff.

Moreover, being required to use other sources of funding for NPR programming could lead to us

eliminate non-NPR programs, thus reducing access to a wider variety of programs and voices.

       27.       Fifth, if CPR were no longer able to air NPR programming, or had to reduce the

amount of NPR programming it airs, CPR would very likely lose listeners. This, in turn, could

significantly harm our ability to fundraise, including to support local programming.

       28.       Finally, as previously noted, the Order makes clear that the Administration

disapproves of NPR and has retaliated against it. Therefore, by continuing to associate with NPR

and exercise our editorial freedom to air NPR programming, even if we use non-federal funds to

do so, CPR likewise risks further retaliation from the Administration, including a total loss of

federal funds.    If CPR were ultimately lo lose its federal funding, we would very likely lose

employees. Our ability to respond to community needs-from real-time news to highlighting a

local artist or educational activity-would be reduced. The loss of federal funding would impact

CPR' s local service in communities across the state.




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        29.     A loss of federal funding would also have significant negative impacts on CPR 's

music programmmg.        CPR provides state-wide access to classical music programming and

highlights the role of Colorado as an international destination for classical music education and

festivals. Federal fonding supports this work. For example, CPR's contemporary music discovery

service focuses on the musicians and music scene of Colorado, and federal funding provides for

the music rights needed to broadcast these artists. Federal funding also helps CPR employ staff~

and it supports infrastructure and creates a network that creates efficiency and scale.


    E. The Public Radio Satellite System

        30.     NPR manages and operates the Public Radio Satellite System (PRSS) on behalf of

the entire public radio system; each public radio stations that participates in the PRSS (collectively,

the Interconnected stations) are stakeholders in it. As an Interconnected station, CPR receives

funds from the Corporation specifically for Interconnection purposes, and CPR pays an

Interconnected fee to NPR for its management and operation of the PRSS. CPR, like all public

radio stations, is reliant on the PRSS, and it is especially important in our mountainous state.

        31.     The PRSS is the backbone for the national emergency alert system. It receives

Presidential alerts from the Federal Emergency Management Agency (fE MA), which it then

transmits to radio stations all over the country in the event of a nationwide crisis. The PRSS

enables essential, lifesaving information to reach more than 98.5% of Americans, including those

living in rural areas.

        32.     The PRSS provides the technology through which local stations, like CPR, share

programming with each other for important statewide broadcasts, including political debates,

candidate forums, and the Colorado State of the State address.




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        33.    Like other public radio stations throughout the country, CPR is a lifeline for the

communities it serves. Because it is not dependent upon e lectricity, it is an essential, reliable

source of information in the event of a natural disaster, severe weather, or other emergency

situations.

        34.    If NPR loses its federal funding, and, correspondingly, its ability to operate the

PRSS, Interconnected stations such as ours would lose the critical infrastructure that enables CPR

to broadcast its programming. I declare under the penalty of pe1jury under the laws of the United

States of America that the foregoing is true and correct.



        Dated: Centennial, Colorado
               June 13, 2025




       Stewart Vanderwilt




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